                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             Civil Action No. 3:18-CV-00338
                                              3: 18-CV—0033 8

AMBER FUDELLA,                                 )




                                               vvvvvvvvvv
                                               )
                Plaintiff,                     )
                                               )
v.
V.                                             )
                                               )                    COMPLAINT
PAYLOCITY CORPORATION, an                      )
Illinois Corporation,                          )
                                               )
                Defendant.                     )


        Plaintiff Amber Fudella (hereinafter “Fudella”) complains and alleges as follows:

                                             PARTIES

     1. Plaintiff Amber Fudella is a citizen and resident of Mecklenburg County, NC.
     1.

     2. Defendant Paylocity Corporation (“Paylocity”) is an Illinois corporation with its principal

place of business in Illinois. It is authorized to do and is doing business in North Carolina. It has

the capacity to sue and be sued. Its registered agent in North Carolina is CT Corporation

System.

                                 JURISDICTION AND VENUE

     3. This Court has subject matter jurisdiction pursuant to 28 U.S.C.A. § 1332,
                                                                             1332, as the parties

have diversity of
               of citizenship, and the amount in controversy exceeds $75,000.

     4. This Court has personal jurisdiction over Paylocity pursuant to Federal Rule of Civil
                                                                                        CiVil

Procedure 4(k)(1)
          4(k)(l) and N.C.G.S. § 1-75.4
                                 1—75.4 because, Without
                                                 without limitation: Paylocity is engaged in

substantial activity
            actiVity in North Carolina and this judicial district; this action arises out of
                                                                                          of injury to

Fudella by acts or omissions of
                             of Paylocity within
                                          Within North Carolina and this judicial district; this




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action arises out of
                  of injury to Fudella within North Carolina and this judicial district; this action

arises out of Paylocity’s promise to pay Fudella for services to be performed in North Carolina

and this judicial district; this action arises out of services performed by Fudella for Paylocity in

North Carolina and this judicial district and with the authorization of Paylocity; and the exercise

of
of personal jurisdiction over Paylocity is consistent with Federal due process.

    5. Venue is proper under 28 U.S.C. § 1391
                                         1391 in that Paylocity is, for purposes of venue, a

resident of this judicial district, and a substantial part of the events and omissions giving rise to

this action occurred within this judicial district.

                                                FACTS
                                                w
    6. Paylocity is engaged in the business of
                                            of marketing and selling payroll and human resource

management software and services.

    7. On or about November 7, 2013, Paylocity hired Fudella as an Account Executive. In that

capacity, Fudella’s duties were to promote Paylocity’s services and products and to sell such

services and products to customers.

    8. Paylocity compensated Fudella with a base salary plus commissions based on sales

Fudella generated.

    9. Throughout her employment with Paylocity, Fudella was an exemplary employee, and

her performance was outstanding. She consistently ranked at or near the top among Account

Executives in terms of
                    of sales generated.

    10.
    10. For purposes of                                                          ﬁscal year
                     of determining Account Executives’ commissions, Paylocity’s fiscal

ran from July 11 through June 30.

    11.
    11. Attached as Exhibit 11 is a copy of the Variable Compensation Plan (“the Compensation

Plan”) applicable to Fudella for her production from July 1,
                                                          1, 2017, through June 30, 2018.
                                                 2


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    12.
    12. The Compensation Plan addresses both commissions and bonuses. With respect to

bonuses, the Compensation Plan provides, “You must be employed by Paylocity at the time the

bonus is paid to receive the bonus.” The Compensation Plan contains no such restrictions on the

payment of
        of commissions.      In fact, it is Paylocity’s standard practice to pay commissions to

separated sales personnel once such commissions are calculable.

    13.
    13. Paylocity has no published, written policy which provides that Account Executives forfeit

their right to receive commissions upon separation.

    14.
    14. Paylocity’s commissions to its Account Executives are calculated according to the

monetary value of deals “submitted” by Account Executives. Commissions on submissions are

not calculable and payable until and unless the customer at issue actually utilizes Paylocity’s

services/products; however, the responsibilities of
                                                 of the Account Executive end upon submission

of
of the sale.

    15.
    15. Fudella voluntarily resigned from her position with Paylocity on August 22, 2017.

    16.
    16. From July 1,
                  1, 2017, through the date of her resignation, Fudella submitted approximately

$627,981.00 in sales.

    17.
    17. Fudella was assured, on the date of
                                         of her resignation, that she would be paid a commission

based on all of
             of the aforementioned submissions.

    18.
    18. On August 24, 2017, Fudella emailed Paylocity Human Resources Manager Kate

Grimaldi. That email asks, in relevant part, “Also, could you please send me something that

ensures that I will be paid on the $630K that I submitted prior to my resignation?” The next day,

Grimaldi responded, “In terms of your commission, anything that was completely submitted

prior to leaving, will be paid out to you when they start. If
                                                           If they push, they will be paid out when

they start.” That email exchange is attached hereto as Exhibit 2.
                                                3


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    19.
    19. Fudella has been paid only a small fraction of
                                                    of the commissions due to her as a result of
                                                                                              of

her $627,981.00 in submissions prior to her resignation.

    20. Fudella cannot calculate with certainty the amount of commissions currently due to her as

a result of
         of her approximately $627,981.00 in submissions prior to her resignation; however; she

estimates she is still owed approximately $126,809.83 in unpaid commissions —
                                                                            – possibly more.

    21. Fudella has made demand on Paylocity for payment of her unpaid commissions, to no

avail.

                           FIRST CLAIM —– BREACH OF CONTRACT

    22. Fudella and Paylocity had a valid and enforceable contract with respect to the terms and

conditions of
           of Fudella’s employment, and specifically with respect to her compensation,

including commissions.

    23. Paylocity has breached its contract with Fudella by failing to pay her all commissions due

to her.

                 SECOND CLAIM —– NORTH CAROLINA WAGE AND HOUR ACT

    24. At all times relevant hereto, Fudella was Paylocity’s employee, and Paylocity was

Fudella’s employer within the meaning of
                                      of the North Carolina Wage and Hour Act, N.C.G.S. §

95-25.1
95—25.1 et seq.
           seq.

    25. Paylocity’s failure to pay Fudella the commissions due to her constitute violations of
                                                                                            of the

North Carolina Wage and Hour Act, including but not limited to the following provisions:

          a) § 95-25.6
               95-256 requiring employers to pay every employee all wages due on the regular

              payday;
              payday;




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         b) § 95-25.7
              95-257 requiring employers to pay separated employees all wages due on or before

              the next regular payday following separation, or, with respect to commissions, on the

              first regular payday after the amount of
                                                    of such commissions becomes calculable;

         c)
         0) § 95-25.7A requiring employers to pay employees all wages not subject to dispute;

              and

         d) Other provisions as may be shown at trial.

    26. Due to its violations of
                              of the North Carolina Wage and Hour Act, Paylocity is liable to

Fudella for unpaid wages, liquidated damages, attorneys’ fees and interest pursuant to N.C.G.S.

§ 95-25.22.
  95-2522.

                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff
           Plaintiff Fudella prays:

    1.                                           ﬂowing from Paylocity’s breach of
    1. For judgment in her favor for all damages flowing                        of contract;

    2. For judgment in her favor for unpaid wages, liquidated damages, attorneys’ fees and

interest pursuant to the North Carolina Wage and Hour Act; and

    3. All other relief
                 relief which the Court may deem just and proper.

         This, the 26th day of
                            of June, 2018.

                                                      CRANFILL SUMNER & HARTZOG LLP

                                               By:    /s/ Benton L. Toups
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                                   CERTIFICATE OF SERVICE

                                              ﬁled the foregoing COMPLAINT with the Clerk of
       I hereby certify that I electronically filed                                       of
Court using the CM/ECF system, and will deposit the foregoing documents in the U.S.
                                                                               US. Mail, for
each said party as follows:


Paylocity Corporation
c/o CT Corporation System
160
160 Mine Lake Court
Suite 200
Raleigh, NC 27615




         This, the 26th day of
                            of June, 2018.

                                                   CRANFILL SUMNER & HARTZOG LLP

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